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                      UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

                             ALEXANDRIA DIVISION

UNITED STATES                       CIVIL ACTION NO. 08-154

VERSUS                              U.S. DISTRICT JUDGE DEE D. DRELL

CORE L. MORRIS                      U.S. MAGISTRATE JUDGE JAMES D. KIRK


                       REPORT AND RECOMMENDATION

      Before the court is defendant’s motion to dismiss indictment

due to the government’s destruction of evidence, doc. # 55.                  The

motion is referred to me for report and recommendation by the

district judge. A hearing on the motion was held before me on

August 13, 2008, at which Lt. Garrow of the special investigations

unit at the U. S. Penitentiary in Pollock, Louisiana, testified.

      Morris is charged with conspiracy to make a false statement

and possess or attempt to possess cocaine in federal prison,

possessing contraband in prison, conspiracy to possess with intent

to distribute cocaine, and obstruction of a disciplinary hearing.

      The incident reports introduced at the hearing1 show that the

defendant’s prison telephone calls were monitored and it was

learned by the government that Morris had requested that his

brother, Daniel, and his brother’s wife, Alicia, visit him at the

prison and bring him cocaine.        The visit was scheduled and Daniel


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      Although two of the prison officials who authored the reports
were not present at the hearing, the government and the defendant
stipulated the officers would testify in accordance with the
statements made in their incident reports.
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and Alicia arrived. The incident reports state that cameras in the

visiting area showed Daniel and Alicia were acting suspiciously.

According      to   the     incident       reports,     the     prison       authorities,

therefore, cancelled the visit and requested permission to pat down

Daniel   and    Alicia.        Daniel       Morris    was     found     to    have   three

“balloons” of cocaine on his person.

      Activity in the visiting area, like in most of the prison, is

monitored by cameras. Defendant correctly suggests that Daniel and

Alicia   would      have    been    shown    on   the    recording       but    that   the

recording was destroyed by the government.                     The government admits

that there was a digital recording, but that it was automatically

recorded over after about three months.                        In other, words the

digital recording was not saved by being dubbed onto another media

storage device.       Defendant asserts that the recording would have

been exculpatory and, therefore, the indictment should be dismissed

due to the government’s destruction of the exculpatory evidence.

      Defense counsel’s argument is this: Contrary to the incident

reports,    the     defendant       will    testify     that     the    visit    was   not

cancelled    by     the    prison    authorities        before     a   visit    with   the

defendant commenced, but in fact the visit had begun.                            Yet the

drugs were “tied” to Daniel and were not easily retrievable, so he

could not have passed them or attempted to pass them to the

defendant.     Thus, there was never any attempt or intent to pass the

drugs to Core Morris.          The recording, counsel argues, would have


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shown that, had Daniel intended to pass the drugs to Core, Daniel

had plenty of time to reposition the drugs so that he could easily

pass them to Core, but did not do so.                      Defense counsel also

suggests that the tape “may have shown” that Daniel went or

attempted to go to the restroom, but if he did, he apparently did

not   attempt   to   reposition   the       drugs    while      in   the   bathroom;

therefore, he did not intend to pass the drugs to Core.                     Counsel

also argues that the recording would have shown that no attempt to

pass the drugs occurred.

      The   government   argues   that       there    is    a   restroom     in   the

visitors’ area and that Daniel could still later have repositioned

the drugs, so the fact that he did not do so earlier proves

nothing. More importantly, the government concedes the recording

showed no attempt was made to pass the drugs to Morris and argues

that the recording simply showed a non-event.                Nothing happened on

the recording which would have caused the government to save the

digital recording by dubbing it.            The government argues that (1)

the recording was not exculpatory on its face, (2) is not evidence

which cannot be obtained from any other source, and, in any event,

(3) there is no evidence that the government acted in bad faith,

citing California v. Trombetta, 104 S. Ct. 2528 (1984) and Arizona

v. Youngblood, 109 S. Ct. 333 (1988).

      Whatever duty the Constitution imposes on the States to

preserve evidence, that duty must be limited to evidence that might


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be expected to play a significant role in the suspect's defense.

To meet this standard of constitutional materiality, evidence must

both possess an exculpatory value that was apparent before the

evidence was destroyed, and be of such a nature that the defendant

would be unable to obtain comparable evidence by other reasonably

available means.     California v. Trombetta, 467 U.S. 479, 488-489,

104 S.Ct. 2528, 2534 (1984).        Moreover, the fundamental fairness

requirement of the Due Process Clause does not impose on the police

an undifferentiated and absolute duty to retain and to preserve all

material that might be of conceivable evidentiary significance in

a particular prosecution.       Therefore, unless a criminal defendant

can show bad faith on the part of the police, failure to preserve

potentially useful evidence does not constitute a denial of due

process of law.    The presence or absence of bad faith by the police

for purposes of the Due Process Clause must necessarily turn on the

policemen’s knowledge of the exculpatory value of the evidence at

the time it was lost or destroyed.         Arizona v. Youngblood, 488 U.S.

51, 57-58, 109 S.Ct. 333, 337 (1988).           Also, Illinois v. Fisher,

540 U.S. 544, 124 S.Ct. 1200 (2004).

      As the court explained in Trombetta, the government has a duty

only to deliver that evidence that might be expected to play a

significant role in the defense.             Further, the evidence must

possess an exculpatory value that was apparent before the evidence

was destroyed.     Defense counsel’s argument is that defendant was


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indicted less than 90 days after the incident2 and the recording

was not destroyed until it was recorded over about 90 days later,

according to the testimony of Lt. Garrow.           Therefore, he posits,

the government should have known to save the recording.                        He

suggests this is especially true since the recording shows a crime

– Daniel possessing contraband in the prison.               I disagree.    Even

if it is true that Daniel was committing a crime at the time (a

fact we certainly do not decide now), the recording would have only

shown Daniel, not the cocaine alleged to have been hidden on him.

Further, any exculpatory value of the recording for Core Morris

would not have been apparent to the prison officials. They could

not have foreseen defense counsel’s novel, albeit logical, argument

regarding the time Daniel had or didn’t have to reposition the

cocaine.    In other words, I find that the recording’s exculpatory

value, if any, was not apparent before it was destroyed.

      I also find that the evidence is available from other sources,

namely the testimony of prison officials, and from Daniel, Alicia

and Core Morris.       While I recognize that, as defense counsel

pointed out, a jury might be less likely to believe Daniel’s,

Alicia’s and Core’s testimony than the actual recording of the

visit, the prison officials’ testimony should indicate there was no

attempt made to pass the drugs to the defendant (and it is not


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       Daniel and Alicia’s visit to Core Morris at USP-Pollock is
alleged to have occurred on March 30, 2008. Core Morris and his
co-defendants were indicted on May 14, 2008.

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reasonable to believe that all the prison officials would testify

falsely).     Therefore, everything that the recording might have

shown can be testified to by credible witnesses.

      Finally, defendant has failed to show that the government

acted in bad faith.      Lt. Garrow testified that the recording was

“recorded over” in the normal course of business. He explained that

there was, to his knowledge, no conscious decision to record over

the original recording or to intentionally destroy the recording.

In this case the failure to save the recording does not even

constitute negligence, much less bad faith.               Garrow explained that

the prison does not have the capacity to save all recordings and

that the prison does not save recordings of “non-events”.                         “If

something doesn’t happen, we don’t just save it”, he testified.

      Therefore, defendant Core Morris has not carried his burden of

proving the recording was exculpatory, was evidence which cannot be

obtained from any other source, or that the government acted in bad

faith by failing to preserve the recording.

      For the foregoing reasons, IT IS RECOMMENDED that Core Morris’

motion to dismiss the indictment, doc. #55, be DENIED.

                             OBJECTIONS

      Under   the   provisions    of       28    U.S.C.    §     636(b)(1)(C)     and

Fed.R.Civ.P. 72(b), the parties have ten (10) business days from

service of this Report and Recommendation to file specific, written

objections with the clerk of court.             A party may respond to another


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party's objections within ten (10) days after being served with a

copy thereof.      A courtesy copy of any objection or response or

request for extension of time shall be furnished to the district

judge at the time of filing.      Timely objections will be considered

by the district judge before he makes his final ruling.

      FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED FINDINGS,

CONCLUSIONS, AND RECOMMENDATIONS CONTAINED IN THIS REPORT WITHIN

TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE SHALL BAR AN

AGGRIEVED PARTY, EXCEPT UPON GROUNDS OF PLAIN ERROR, FROM ATTACKING

ON APPEAL THE UN-OBJECTED-TO PROPOSED FACTUAL FINDINGS AND LEGAL

CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

      THUS DONE AND SIGNED in chambers, in Alexandria, Louisiana, on

this the 14th day of August, 2008.




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